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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  §
In re:                                            §   Chapter 11
                                                  §
MEMORIAL PRODUCTION                               §   Case No. 17-30262
PARTNERS LP, et al.,                              §
                                                  §   (Jointly Administered)
               Debtors.1                          §
                                                  §

                    DEBTORS’ WITNESS AND EXHIBIT LIST
            FOR PLAN CONFIRMATION HEARING SET FOR APRIL 4, 2017

               Memorial Production Partners LP (“MEMP”) and its debtor affiliates in the

above-captioned chapter 11 cases, as debtors and debtors in possession (collectively, the

“Debtors”), hereby file this Witness and Exhibit List for the hearing to confirm the Amended

Joint Plan of Reorganization of Memorial Production Partners LP, et al. under Chapter 11 of

the Bankruptcy Code (ECF No. 228) (as may be amended, modified, supplemented, or restated)

scheduled to begin on April 4, 2017, at 10:00 a.m. (Central Time) as follows:

                                            WITNESSES

               1.      Robert L. Stillwell, Jr.

               2.      John R. Castellano

               3.      Michael J. Dickman [Expert]

               4.      Kevin M. Cofsky, as a rebuttal witness


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Memorial Production Partners LP (6667); Memorial Production
Partners GP LLC; MEMP Services LLC (1887); Memorial Production Operating LLC; Memorial
Production Finance Corporation (3356); WHT Energy Partners LLC; WHT Carthage LLC; Memorial
Midstream LLC; Beta Operating Company, LLC; Columbus Energy, LLC; Rise Energy Operating, LLC;
Rise Energy Minerals, LLC; Rise Energy Beta, LLC; San Pedro Bay Pipeline Company (1234); and
Memorial Energy Services LLC. The Debtors’ mailing address is 500 Dallas Street, Suite 1600, Houston,
Texas 77002.
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             5.    Any witness called or listed by any other party; and

             6.    Any additional rebuttal witnesses.

                                       EXHIBITS

EXHIBIT                          DESCRIPTION                              M   O   O   A   D
NUMBER                                                                    A   F   B   D   A
                                                                          R   F   J   M   T
                                                                          K   E   E   I   E
                                                                          E   R   C   T
                                                                          D   E   T
                                                                              D   I
                                                                                  O
                                                                                  N
  D-1       Emergency Motion of Debtors Pursuant to 11 U.S.C. §§
            105(a), 363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004
            for Interim and Final Order (I) Authorizing Debtors to (A)
            Pay Prepetition Wages, Salaries, Employee Benefits, and
            Other Compensation and (B) Maintain Employee Benefits
            Programs and Pay Related Obligations and (II) Authorizing
            Financial Institutions to Honor and Process Related Checks
            and Transfer [Docket No. 9]
  D-2       Declaration re: Declaration of Robert L. Stillwell, Jr. in
            Support of the Debtors Chapter 11 Petitions and Related
            Requests for Relief [Docket No. 17]
  D-3       Joint Plan of Reorganization of Memorial Production
            Partners LP, et al. Under Chapter 11 of the Bankruptcy Code
            [Docket No. 18]
  D-4       Disclosure Statement for Amended Joint Plan of
            Reorganization of Memorial Production Partners LP, et al.
            Under Chapter 11 of the Bankruptcy Code [Docket No. 19]
  D-5       Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
            and 507, Bankruptcy Rules 2002, 4001, 6003, 6004, and
            9014 and Bankruptcy Local Rule 4001-1, Inter Alia, (i)
            Authorizing Debtors’ Limited Use of Cash Collateral, (II)
            Granting Adequate Protection to the Prepetition Secured
            Parties, and (III) Modifying the Automatic Stay, and (IV)
            Scheduling a Final Hearing [Docket No. 52]
  D-6       Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
            and 507, Bankruptcy Rules 2002, 4001, 6003, 6004, and
            9014 and Bankruptcy Local Rule 4001-1, Inter Alia, (i)
            Authorizing Debtors’ Limited Use of Cash Collateral, (II)
            Granting Adequate Protection to the Prepetition Secured
            Parties, and (III) Modifying the Automatic Stay [Docket No.
            187]


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EXHIBIT                         DESCRIPTION                             M   O   O   A   D
NUMBER                                                                  A   F   B   D   A
                                                                        R   F   J   M   T
                                                                        K   E   E   I   E
                                                                        E   R   C   T
                                                                        D   E   T
                                                                            D   I
                                                                                O
                                                                                N
  D-7       Disclosure Statement for Amended Joint Plan of
            Reorganization of Memorial Production Partners LP, et al.
            Under Chapter 11 of the Bankruptcy Code [Docket No. 227]
  D-8       Amended Joint Plan of Reorganization of Memorial
            Production Partners LP, et al. Under Chapter 11 of the
            Bankruptcy Code [Docket No. 228]
  D-9       Disclosure Statement for Amended Joint Plan of
            Reorganization of Memorial Production Partners LP, et al.
            Under Chapter 11 of the Bankruptcy Code [Docket No. 246]
  D-10      Plan Supplement, as amended from time to time [Docket No.
            283]
  D-11      June 2016 Society of Petroleum Evaluation Engineers
            (“SPEE”) 35th Annual Survey of Parameters Used in
            Property Evaluation
  D-12      2016 Duff & Phelps Valuation Handbook

  D-13      Chart Comparing Management Incentive Plans

  D-14      Form 8K for Memorial Production Partners LP dated January
            13, 2015
  D-15      Form 8K for Memorial Production Partners LP dated
            February 25, 2015
  D-16      Form 8K for Memorial Production Partners LP dated March
            24, 2015
  D-17      Form 8K for Memorial Production Partners LP dated April
            13, 2015
  D-18      Form 8K for Memorial Production Partners LP dated April
            21, 2015
  D-19      Form 8K for Memorial Production Partners LP dated May 6,
            2015
  D-20      Form 8K for Memorial Production Partners LP dated June 2,
            2015
  D-21      Form 8K for Memorial Production Partners LP dated August
            5, 2015
  D-22      Form 8K for Memorial Production Partners LP dated
            October 2, 2015



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EXHIBIT                       DESCRIPTION                             M   O   O   A   D
NUMBER                                                                A   F   B   D   A
                                                                      R   F   J   M   T
                                                                      K   E   E   I   E
                                                                      E   R   C   T
                                                                      D   E   T
                                                                          D   I
                                                                              O
                                                                              N
  D-23    Form 8K for Memorial Production Partners LP dated
          November 4, 2015
  D-24    Form 8K for Memorial Production Partners LP dated
          November 5, 2015
  D-25    Form 8K for Memorial Production Partners LP dated
          December 3, 2015
  D-26    Form 10K for Memorial Production Partners LP for fiscal
          year ended December 31, 2015
  D-27    Form 8K for Memorial Production Partners LP dated January
          28, 2016
  D-28    Form 8K for Memorial Production Partners LP dated
          February 24, 2016
  D-29    Form 8K for Memorial Production Partners LP dated March
          4, 2016
  D-30    Form 10Q of Memorial Production Partners LP for
          quarterly period ending March 31, 2016
  D-31    Form 8K for Memorial Production Partners LP dated April
          14, 2016
  D-32    Form 8K for Memorial Production Partners LP dated May 2,
          2016
  D-33    Form 8K for Memorial Production Partners LP dated May 4,
          2016
  D-34    Form 8K for Memorial Production Partners LP dated May
          25, 2016
  D-35    Form 8K for Memorial Production Partners LP dated June 1,
          2016
  D-36    Form 8K for Memorial Production Partners LP dated June
          20, 2016
  D-37    Form 10Q of Memorial Production Partners LP for
          quarterly period ending June 30, 2016
  D-38    Form 8K for Memorial Production Partners LP dated July
          18, 2016
  D-39    Form 8K for Memorial Production Partners LP August 3,
          2016
  D-40    Form 8K for Memorial Production Partners LP dated
          September 2, 2016



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EXHIBIT                             DESCRIPTION                               M    O   O   A    D
NUMBER                                                                        A    F   B   D    A
                                                                              R    F   J   M    T
                                                                              K    E   E   I    E
                                                                              E    R   C   T
                                                                              D    E   T
                                                                                   D   I
                                                                                       O
                                                                                       N
   D-41       Form 10Q of Memorial Production Partners LP for
              quarterly period ending September 30, 2016
   D-42       Form 8K for Memorial Production Partners LP dated
              November 1, 2016
   D-43       Form 8K for Memorial Production Partners LP dated
              December 1, 2016
   D-44       Form 8K for Memorial Production Partners LP dated
              December 8, 2016
   D-45       Form 8K for Memorial Production Partners LP dated
              December 19, 2016
   D-46       Form 8K for Memorial Production Partners LP dated
              December 23, 2016
   D-47       Form 10K for Memorial Production Partners LP for fiscal
              year ended December 31, 2016
   D-48       Press Releases for Memorial Production Partners LP for
              last two years
              Any exhibits designated by any other party.

              Any rebuttal exhibits necessary.


               The Debtors reserve the right to supplement or amend this Witness and Exhibit

List at any time prior to the hearing. The Debtors further reserve the right to use demonstratives

that may not be listed above.




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Dated:    March 31, 2017
          Houston, Texas
                                     /s/ Alfredo R. Pérez
                                     WEIL, GOTSHAL & MANGES LLP
                                     Alfredo R. Pérez (15776275)
                                     700 Louisiana Street, Suite 1700
                                     Houston, Texas 77002
                                     Telephone: (713) 546-5000
                                     Facsimile: (713) 224-9511

                                     -and-

                                     WEIL, GOTSHAL & MANGES LLP
                                     Gary T. Holtzer (admitted pro hac vice)
                                     Joseph H. Smolinsky (admitted pro hac vice)
                                     767 Fifth Avenue
                                     New York, New York 10153
                                     Telephone: (212) 310-8000
                                     Facsimile: (212) 310-8007

                                     Proposed Attorneys for the Debtors and
                                     Debtors in Possession




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                                     Certificate of Service

I hereby certify that on March 31, 2017, a true and correct copy of the foregoing document was
served by e-mail on the parties who receive electronic notice in this case pursuant to the Court’s
ECF filing system.

                                                     /s/ Rene Olvera
                                                    Rene Olvera
